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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 20-60757-CIV-DIMITROULEAS
  FLORIDA EMERGENCY PHYSICIANS
  KANG & ASSOCIATES, M.D., INC., et al.,

         Plaintiffs,
  vs.

  UNITED HEALTHCARE OF FLORIDA,
  INC., et al,

        Defendants.
  _____________________________________/

                ORDER GRANTING MOTION FOR FINAL JUDGMENT
           AS TO COUNTS I AND II OF PLAINTIFFS’ AMENDED COMPLAINT

         THIS MATTER is before the Court on United Defendants’ Motion for Entry of Final

  Judgment as to Counts I and II [DE 73] (“Motion”). The Court has considered the Motion,

  Plaintiffs’ Response [DE 75], and the record in this matter and is otherwise fully advised in the

  premises.

         On March 16, 2021, the Court entered an Order dismissing without prejudice Counts I, II,

  and III of Plaintiffs’ Amended Complaint which included Plaintiff’s claims for violations of

  RICO, 18 U.S.C. § 1962(c) and § 1962(d). [DE 68]. The Court granted Plaintiff leave to file a

  second amended complaint. Id. On March 30, 2021, Plaintiff filed a notice stating that it did not

  intend to amend its Amended Complaint. Subsequently, the Court ordered Defendants to show

  cause why the remaining state law claims in this matter should not be remanded to state court.

  Defendants UMR, Inc., UnitedHealthcare of Florida, Inc., and UnitedHealthcare Insurance

  Company do not state any clear opposition to the Court remanding the remaining claims but

  request that the Court first enter an order pursuant to Rule 54(b) as to Counts I and II of

  Plaintiffs’ Amended Complaint.
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            Rule 54(b) of the Federal Rules of Civil Procedure states, “when an action presents more

  than one claim for relief--whether as a claim, counterclaim, crossclaim, or third-party claim--or

  when multiple parties are involved, the court may direct entry of a final judgment as to one or

  more, but fewer than all, claims or parties only if the court expressly determines that there is no

  just reason for delay.” Fed. R. Civ. P. 54. The decision of whether or not to enter a final

  judgment as to some, but not all claims in a matter, is left to the sound discretion of district court.

  Lane v. Cap. Acquisitions & Mgmt. Co., 569 F. Supp. 2d 1268, 1269 (S.D. Fla. 2008).

            In the present case, the Court intends to remand Plaintiffs’ remaining state law claims to

  state court, as no cause has been given why the Court should not do so. Accordingly, the Court

  finds that there is no reason to delay entering a final judgment as to Plaintiffs’ federal RICO

  claims.

            Accordingly, it is ORDERED and ADJUDGED as follows:

            1. Defendants’ Motion [DE 73] is GRANTED;

            2. Pursuant to Rule 58 the Court will enter a separate final judgment as to Counts I and

               II of Plaintiffs’ Amended Complaint;

            DONE and ORDERED in Chambers at Fort Lauderdale, Broward County, Florida this

  12th date of April, 2021.




  Copies furnished to:
  All Counsel of Record
